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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
v.                                                 :       Case No. 21-cr-00277
                                                   :
KEVIN CORDON,                               :
                                          :
            Defendant.                    :
__________________________________________:

                                  LINE OF APPEARANCE

       Please enter the appearance of Brian K. McDaniel as counsel of record for the Defendant,

KEVIN CORDON, in the above captioned matter. Mr. McDaniel maintains offices within the

District of Columbia and is a member of good standing in and before this Court.



                                                   Respectfully Submitted,



                                                   /s/Brian K. McDaniel__________________
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